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 9                           UNITED STATES DISTRICT COURT
10                          EASTERN DISTRICT OF CALIFORNIA
11
12 DORA SOLARES, an individual                       Case No. 1:20-cv-00323-LHR
13                  Plaintiff,
14            v.                                     PLAINTIFF’S OPPOSITION TO
                                                     CDCR’S OBJECTION TO
15 RALPH DIAZ, in his official capacity,             PROPOSED ORDER (ECF NO. 177)
   KENNETH CLARK, in his official
16 capacity, JOSEPH BURNS, in his                    Judge: Hon. Lee H. Rosenthal
   individual and official capacity, and             Case Filed: March 2, 2020
17 DOES 1 TO 15,
18                  Defendants.
19
20       I.        INTRODUCTION
21 “The lady doth protest too much, methinks.” -William Shakespeare, Hamlet
22            Plaintiff Dora Solares hereby opposes California Department of Corrections and
23 Rehabilitation (CDCR) objections to Plaintiff’s Proposed Order (ECF No. 177).
24 Plaintiff understands that CDCR and defendants really do not want to produce
25 damning evidence of Jaime Osuna’s desire to kill. However, the spaghetti that CDCR
26 throws up against the wall with its objection will not stick. It is a matter of black-letter
27 law that Perlman does not apply in the civil context. Furthermore, invoking the
28 psychologist-patient privilege, after it has been waived, does not obviate its waiver.

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 1       II.      PERLMAN IS INAPPLICABLE AND PERMITTING AN
 2                INTERLOCUTORY APPEAL WOULD BE WRONG
 3             On June 24, 2025, the Court held a Pre-Motion Conference and ruled that
 4 CDCR must respond to Plaintiff’s subpoena and produce statements reflecting Jaime
 5 Osuna’s desire to kill. CDCR now argues, on Osuna’s behalf, that Osuna should be
 6 served and be given time to respond to the subpoena on CDRC, and that Osuna has a
 7 right to seek an interlocutory appeal under Perlman. Desperate to avoid a damning
 8 production, this Hail Mary attempt falls short for a number of reasons.
 9             First and foremost, it is a matter of black-letter law that Perlman does not apply
10 to discovery orders in an ongoing civil case. As the Ninth Circuit has held, “the Perlman
11 rule does not apply to render appealable discovery orders issued in an ongoing civil
12 case.” In re National Mort. Equity Corp., 857 F.2d 1238, 1240 (9th Cir. 1988). Unlike in
13 the context of a discovery dispute in a civil case, “the classic application” of Perlman is
14 where the aggrieved party’s motion or petition is the only pending proceeding in any
15 federal court, such as criminal subpoenas or orders to produce documents in grand jury
16 proceedings. Id. However, in an ongoing civil case where a party is aggrieved by a
17 district court discovery order, the rationale for Perlman does not apply, as the privilege
18 holder can seek recourse through post-judgment appeals. “The essential character of
19 any litigation over a discovery order and the circumstances under which the order is
20 issued... render it merely a step in the civil proceeding.” Id. Of course, an order
21 compelling discovery is not a final judgment under 28 U.S.C. § 1291.
22             Second, Perlman is an exception that should not be extended in this case, where
23 CDCR participated in the confidential relationship upon which any claim of privilege
24 by Osuna emerges. The Ninth Circuit in In re Grand Jury Served upon Niren, 784 F.2d 939
25 (9th Cir. 1986) (Niren) addressed what it called “the Perlman exception,” to the general
26 rule that appellate jurisdiction does not lie unless the witness has been held in
27 contempt. In Niren, the Ninth Circuit expressed two reasons for the limitation of the
28 Perlman exception: (1) the exception is intended to protect only those movants who are

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 1 “powerless” to control the actions of the subpoenaed third party; and (2) it is
 2 particularly inappropriate to extend the Perlman exception to third parties who are
 3 participants in the confidential relationship upon which the movant’s claim of privilege
 4 is based. Id. at 941. Here, Osuna has already argued for the psychotherapist-patient
 5 privilege to apply under Jaffee, but that objection was filed after Osuna waived the
 6 privilege when he placed his mental health at issue. Additionally, the Perlman exception
 7 should not be extended to CDCR, which provided the psychological care, maintained
 8 Osuna’s mental health records, and fully participated in the confidential relationship
 9 upon which any psychotherapist-patient privilege would be based. As stated in Niren,
10 “the exception becomes more difficult to sustain where the target of the disclosure
11 order is both subject to the control of the person or entity asserting the privilege and is
12 a participant in the relationship out of which the privilege emerges.” Id. at 941 (quoting
13 National Super Spuds Inc. v. N.Y. Mercantile exchange, 591 F.2d 174, 179-80 n. 7 (2d Cir.
14 1979)). Here, CDCR is not just the custodian of the sought records, CDCR provided
15 the psychological care and participated in the provider-patient relationship with Osuna
16 of which the privilege emerges. As there is no daylight between CDCR and Osuna on
17 this issue of privilege, so extending the Perlman exception is particularly inappropriate.
18          Caselaw makes clear that Perlman has been narrowed not expanded. The
19 Supreme Court’s decision in Mohawk Industries, Inc. v. Carpenter 558 U.S. 100 (2009) has
20 further narrowed the scope of interlocutory appeals in privilege disputes. See Holt-
21 Orstead v. City of Dickson, 641 F.3d 230 (6th Cir. 2011)(“The Mohawk decision, however,
22 appears to have narrowed the scope of the Perlman doctrine”); see also Jones v. Riot Hosp.
23 Grp. LLC, 2022 U.S. App. LEXIS 3546 (quoting Admiral Ins. Co., v. U.S. Dist. Ct., 881
24 F.2d 1486, 1490 (9th Cir. 1989) (“Discovery orders are not final appealable orders
25 under 28 U.S.C. § 1291, and courts have refused interlocutory review of such orders
26 under the collateral order doctrine.”)). Expanding Perlman would fly in the face of the
27 narrowing of interlocutory appeals post-Mohawk.
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 1       III.   WAIVER
 2          Osuna has known about Plaintiff’s intentions to obtain statements of his desire
 3 to kill within his mental health records and has already asserted the psychologist-patient
 4 privilege in an objection filed in December 2024. See ECF Docket No. 117. Six months
 5 later, CDCR offers further delay, for Osuna to make the same argument under Jaffee v.
 6 Redmond that he has already made. Id. CDCR’s latest filing misses the point here. It is
 7 not that Osuna has not objected or is not on notice of Plaintiff’s intentions to obtain
 8 Osuna’s homicidal ideation statements within mental health records maintained by
 9 CDCR. Rather, the Court has already addressed this on June 24, 2025, took Osuna’s
10 objections under consideration, and found that Osuna has already waived the
11 psychologist-patient privilege and ordered production under the strict terms of the
12 Protective Order.
13       IV.    CONCLUSION
14          Osuna’s mental health records have been in dispute for over a year. See ECF
15 Docket No. 93 (June 26, 2024) (The plaintiffs will provide a proposed order compelling
16 production of the disputed mental health records.”) Plaintiffs obtained an order as to
17 Burnes, and as ordered by the Court then subpoenaed CDCR. Having litigated and lost
18 on the erroneous argument that Jaffee creates an absolute, unwaivable privilege, CDCR
19 attempts a Perlman Hail Mary pass. As the law is clear, this effort must fall short. CDCR
20 should be ordered to comply with the subpoena and provide the documents it has
21 already provided in camera to the Court, within 48 hours.
22
23
      DATED: June 28, 2025                   Respectfully submitted,
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25
                                               /s/ Erin Darling
26
                                             ERIN DARLING
27                                           Attorney for Plaintiff, Dora Solares
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